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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


MARK W. DOBRONSKI,                                    Case No. 2:23-cv-12597-SJM-DRG

               Plaintiff,                             The Honorable Steven J. Murphy III
                                                      United States District Judge
v.
                                                      The Honorable David R. Grand
SELECTQUOTE INSURANCE                                 United States Magistrate Judge
SERVICES and
TUAN ENGLAND PHAM,

          Defendants.
___________________________________________________________________

         PLAINTIFF’S SECOND NOTICE OF SUPPLEMENTAL AUTHORITY
                      IN OPPOSITION TO DEFENDANTS’
             JOINT MOTION TO DISMISS PLAINTIFF’S COMPLAINT
                    PURSUANT TO FRCP 12(c) AND FRCP 56

       Plaintiff, MARK W. DOBRONSKI, appearing in propria persona, hereby submits this notice

of supplemental authority to alert the court to recent new developments regarding authority bearing

on the issues raised in Defendants’ Joint Motion to Dismiss Plaintiff’s Complaint Pursuant to FRCP

12(c) and FRCP 56 (“Motion”) [ECF No. 33].

       On December 10, 2024, the United States District Court for the Middle District of Florida

entered Order in the matter of Buxton v. Full Sail, LLC, et al., Case No. 6:24-cv-747-JSS-DCI, 2024

WL 5057222 (M.D. Fla., 2024), a copy of which is attached hereto at EXHIBIT A.

       In Buxton, that court was called upon to consider the issue of vicarious liability. There, the

Court held:


                                                 1
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              “The amended complaint states that The Office Gurus initiated the
              calls on Full Sail's behalf... The FCC “has ruled that, under federal
              common[ ]law principles of agency, there is vicarious liability for
              TCPA violations.” Campbell-Ewald Co. v. Gomez, 577 U.S. 153, 168
              (2016); accord Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1265
              (11th Cir. 2019). The amended complaint sets out three theories of
              agency under which Full Sail may be held vicariously liable for the
              alleged misconduct of The Office Gurus: actual authority, apparent
              authority, and ratification... A TCPA defendant may face vicarious
              liability pursuant to these theories. See Hossfeld v. Am. Fin. Sec. Life
              Ins. Co., 544 F. Supp. 3d 1323, 1332 (S.D. Fla. 2021) (“[The
              defendant] may be held vicariously liable under federal common law
              agency principles, including actual agency, apparent authority, and
              ratification, for a TCPA violation by a third-party telemarketer.”).
              Accordingly, the claims against Full Sail are not dismissed for failure
              to allege that Full Sail initiated the calls.”

Buxton v. Full Sail, LLC, et al., 2024 WL 5057222, at *4 (M.D.Fla., 2024).

       The Buxton decision provides new and additional support for this Court’s

consideration with respect to why Defendants’ Joint Motion to Dismiss Plaintiff’s

Complaint Pursuant to FRCP 12(c) and FRCP 56 [ECF No. 33] should be denied.

                                                      Respectfully submitted,



Date: December 17, 2024                              _______________________________
                                                     Mark W. Dobronski
                                                     Post Office Box 222
                                                     Dexter, Michigan 48130-0222
                                                     (734) 641-2300
                                                     markdobronski@yahoo.com
                                                     Plaintiff In Propria Persona




                                                 2
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                          CERTIFICATE OF SERVICE

       I hereby certify that on December 17, 2024, I electronically filed the foregoing
Plaintiff’s Second Notice of Supplemental Authority in Opposition to Defendants’
Joint Motion to Dismiss Plaintiff’s Complaint Pursuant to FRCP 12(c) and FRCP 56
with the Clerk of the Court via the Court’s Pro Se Document Upload utility, which
will send notification of such filing to all counsel of record via the CM/ECF system.




                                              _______________________________
                                              Mark W. Dobronski




                                          3
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                                                                     phone stating[:] ‘Thank you for calling Full Sail University.’
                    2024 WL 5057222                                  ” (Id. ¶ 51.) When Plaintiff answered the calls, representatives
      Only the Westlaw citation is currently available.              of The Office Gurus informed her that “they were calling
        United States District Court, M.D. Florida.                  from Full Sail,” and they “attempt[ed] to solicit [her] to
                                                                     attend Full Sail.” (Id. ¶ 53.) She told the representatives
              LAUREN BUXTON, Plaintiff,                              that she was “not interested,” and she “repeatedly requested”
                          v.                                         not to receive further calls. (Id. ¶¶ 54, 58.) Despite these
               FULL SAIL, LLC, and THE                               requests, Plaintiff received multiple calls from The Office
                                                                     Gurus on Full Sail's behalf every month from May 2023
            OFFICE GURUS, LLC, Defendants.
                                                                     through September 2023. (Id. ¶ 55.) Plaintiff claims that
                 Case No: 6:24-cv-747-JSS-DCI                        “at the time of the calls,” Defendants simply “did not have
                               |                                     written do-not-call policies” or had policies that violated the
                          12/10/2024                                 Telephone Consumer Protection Act of 1991 (TCPA),     47
                                                                     U.S.C. § 227, or “were never properly implemented.” (Dkt.
                                                                     32 ¶¶ 59–60.)
                            ORDER
                                                                     Given the unwanted calls, Plaintiff initiated this action against
 *1 Defendants, Full Sail, LLC, and The Office Gurus, LLC,           Full Sail alleging TCPA violations. (Dkt. 1.) Specifically, she
move to dismiss the amended complaint (Dkt. 32) filed by             filed a class action complaint in October 2023 in the Southern
Plaintiff, Lauren Buxton. (See Dkts. 67, 68; see also Dkts. 77,      District of Mississippi. (Id.) Full Sail moved to dismiss the
78, 84.) Plaintiff opposes the motion. (See Dkt. 74; see also        complaint on personal jurisdiction and other grounds and, at
Dkts. 81, 82.) Upon consideration, for the reasons outlined          the same time, moved to transfer venue to this court. (See
below, the court denies the motion.                                  Dkts. 7, 8, 9, 10.) The Southern District of Mississippi granted
                                                                     the motion to transfer venue. (Dkt. 21.) In the memorandum
                                                                     supporting its motion to dismiss, Full Sail stated that “any
                      BACKGROUND 1                                   calls made on [its] behalf...were likely made by...The Office
                                                                     Gurus,” and it criticized the complaint for “fail[ing] to allege
Full Sail is “a private for-profit university,” and The Office       any agency relationship” between itself and that company.
Gurus is a telemarketing services company. (Dkt. 32 ¶ 2.)            (Dkt. 8 at 5.) In response, Plaintiff amended her complaint
According to Plaintiff, Full Sail “contracted with [The Office       to add The Office Gurus as a Defendant and to allege an
Gurus] to make aggressive telemarketing calls on its behalf          agency relationship between Defendants. (See Dkt. 32; see
soliciting its services,” (id.), and Plaintiff received such         also Dkt. 33.) Like the initial complaint, (Dkt. 1 at 13–
calls to her cell phone, (see id. ¶¶ 49–50, 52, 54–55, 64).          14), the amended complaint asserts two causes of action,
Plaintiff uses her cell phone number “for residential purposes”      one for each of two classes, (Dkt. 32 at 25–26). The first
including “personal, family[,] and household use.” (Id. ¶¶ 42–       cause of action alleges that Plaintiff and the members of
43.) She “relies on” the number “to communicate with her             the Registry Class “each received two or more” “telephone
family and friends.” (Id. ¶ 47.) The number “is not associated       solicitations” from Defendants “in a [twelve]-month period”
with a business.” (Id. ¶ 42.) The number is Plaintiff's “only        even though their “numbers were all on the National Do-Not-
personal telephone number”; she does not have another cell           Call Registry at the time of the calls.” (Id. ¶¶ 74–76.) The
phone number or a landline number. (Id. ¶¶ 44–46.)                   second cause of action alleges that Defendants “made two or
                                                                     more telemarketing calls to” Plaintiff and the members of the
Although Plaintiff's cell phone number “has been on the              Policy Class “in a [twelve]-month period” but did “not hav[e]
National Do-Not-Call Registry since June 20[,] 2017,” (id. ¶         a written policy pertaining to ‘do not call’ requests,” did “not
48), in May 2023 she “began receiving telephone calls” to            train[ ] [their] personnel on the existence or use of any internal
her cell phone “from [The Office Gurus] on behalf of Full            ‘do not call’ list or policy,” and did “not record[ ] or honor[ ]
Sail that solicited Full Sail's services,” (id. ¶ 49). These calls   ‘do not call’ requests.” (Id. ¶¶ 81–84.) Defendants now move
came from various phone numbers “associated with online              to dismiss the amended complaint as a shotgun pleading and
telemarketing complaints.” (Id. ¶¶ 50, 52.) “When these              for failure to state a claim. (Dkts. 67, 68.)
numbers [we]re called back, representatives answer[ed] the


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                APPLICABLE STANDARDS                                                          ANALYSIS

 *2 Federal Rule of Civil Procedure 8(a)(2) requires a              Defendants argue that the amended complaint should be
complaint to “contain...a short and plain statement of [a] claim    dismissed as a shotgun pleading because it “lumps together
showing that the [plaintiff] is entitled to relief.” Fed. R. Civ.   both Defendants, making it impossible to determine which
P. 8(a)(2). Federal Rule of Civil Procedure 10(b) requires the      allegations are directed to which Defendant.” (Dkt. 67 at 15;
plaintiff to “state its claims...in numbered paragraphs, each       accord Dkt. 68 at 2.) Defendants further maintain that the
limited as far as practicable to a single set of circumstances.”    amended complaint should be dismissed for failure to state a
Fed. R. Civ. P. 10(b). To “promote clarity,” Rule 10(b)             claim. (Dkt. 67 at 4–15; Dkt. 68 at 1–2.) In that regard, both
also requires the plaintiff to state “each claim founded on         Defendants contend that the amended complaint inadequately
a separate transaction or occurrence...in a separate count.”        alleges that the calls at issue were made to a residential
Id. “Complaints that violate either Rule 8(a)(2) or Rule            telephone subscriber. (Dkt. 67 at 4–11; Dkt. 68 at 1–2.) Full
10(b), or both, are often disparagingly referred to as ‘shotgun     Sail also contends that the amended complaint inadequately
                                                                    alleges that Full Sail initiated the calls. (Dkt. 67 at 12–13.)
pleadings.’ ”     Weiland v. Palm Beach Cnty. Sheriff's Off.,
792 F.3d 1313, 1320 (11th Cir. 2015). Shotgun pleadings             The court discusses these arguments in turn. 2
“fail...to give the defendants adequate notice of the claims
against them and the grounds upon which each claim rests.”
                                                                    1. Shotgun Pleading
    Id. at 1323. A court may dismiss a complaint as a shotgun       According to Defendants, the amended complaint is a shotgun
pleading only “where ‘it is virtually impossible to know which      pleading because it does not “identify which allegations
allegations of fact are intended to support which claim(s) for      pertain to which [D]efendant.” (Dkt. 68 at 2; accord Dkt.
relief.’ ”  Id. at 1325 (quoting    Anderson v. Dist. Bd. of        67 at 15.) The court disagrees. The amended complaint
Trs. of Cent. Fla. Cmty. Coll., 77 F.3d 364, 366 (11th Cir.         alleges that The Office Gurus made the calls as Full Sail's
1996)).                                                             agent and accordingly seeks to hold the former directly
                                                                    liable and the latter vicariously liable. (See Dkt. 32 ¶ 77
In deciding a motion to dismiss for failure to state a claim, a     (“Defendant [The Office Gurus], on behalf of Defendant Full
court “accept[s] the allegations in the complaint as true and       Sail, directly initiated the unlawful calls to [Plaintiff] and the
construe[s] them in the light most favorable to the plaintiff.”     class members and is thus directly liable for violating the
Henley v. Payne, 945 F.3d 1320, 1326 (11th Cir. 2019).              TCPA.”); id. ¶ 80 (“Defendant Full Sail is liable for each of the
“To survive a motion to dismiss, a complaint must contain           calls under one or more of the following theories of liability:
sufficient factual matter, accepted as true, to ‘state a claim to   (1) [a]ctual [a]uthority, (2) [a]pparent [a]uthority, [and] (3)
                                                                    [r]atification.”); see also Dkt. 74 at 18–19.) The amended
relief that is plausible on its face.’ ”   Ashcroft v. Iqbal, 556   complaint provides Defendants with “adequate notice of the
U.S. 662, 678 (2009) (quoting      Bell Atl. Corp. v. Twombly,      claims against them and the grounds upon which each claim
550 U.S. 544, 570 (2007)). “A claim has facial plausibility         rests.”   Weiland, 792 F.3d at 1323. Because it is certainly
when the plaintiff pleads factual content that allows the           not “virtually impossible to know which allegations of fact
court to draw the reasonable inference that the defendant
is liable for the misconduct alleged.” Id. “[D]etailed factual      are intended to support which claim(s) for relief,”      id. at
allegations” are generally not required, but “[a] pleading that     1325, the court does not dismiss the amended complaint as
offers ‘labels and conclusions’ or ‘a formulaic recitation of       a shotgun pleading. See Al-Saadi v. Annchery Fajas USA,
the elements of a cause of action will not do.’ ” Id. (quoting      Inc., No. 20-cv-23937, 2021 U.S. Dist. LEXIS 258930,
                                                                    at *11 (S.D. Fla. Sept. 28, 2021) (rejecting the argument
   Twombly, 550 U.S. at 555). Generally, when analyzing a           that a complaint “impermissibly lump[ed] [the d]efendants
motion to dismiss for failure to state a claim, a court considers   together” when it “refer[red] to [them] collectively” and
only the four corners of the complaint. See Turner v. Williams,     reasoning that the complaint alleged that the defendants
65 F.4th 564, 583 n.27 (11th Cir. 2023).                            “interacted collectively and/or indistinguishably with [the
                                                                    p]laintiffs”); Nye v. Alloy Wheel Repair Specialists, LLC, No.
                                                                    1:18-cv-5622-SCJ-JKL, 2019 U.S. Dist. LEXIS 249989, at



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*28 (N.D. Ga. Apr. 15, 2019) (explaining that the “ ‘lumping         U.S.C. § 2342(1). The Eleventh Circuit has explained in
together’ of defendants in alleged agency relationships does         TCPA cases that “[d]istrict courts may not determine the
not transform a complaint into a shotgun pleading” (alteration       validity of FCC orders, including by refusing to enforce an
adopted)), report and recommendation adopted by 2020 U.S.            FCC interpretation, because ‘[d]eeming agency action invalid
Dist. LEXIS 269324, at *11 (N.D. Ga. Feb. 21, 2020).                 or ineffective is precisely the sort of review the Hobbs Act
                                                                     delegates to the courts of appeals in cases challenging final
                                                                     FCC orders.’ ” Murphy v. DCI Biologicals Orlando, LLC,
2. Residential Telephone Subscriber
 *3 Defendants primarily maintain that Plaintiff's claims fail       797 F.3d 1302, 1307 (11th Cir. 2015) (quoting            Mais v.
because “the calls at issue were made to her cell phone, not a       Gulf Coast Collection Bureau, Inc., 768 F.3d 1110, 1119–20
residential telephone.” (Dkt. 67 at 4; accord Dkt. 68 at 1–2.)       (11th Cir. 2014)). Accordingly, this court lacks jurisdiction
Defendants acknowledge that the Federal Communications               to entertain Defendants’ argument that the FCC exceeded its
Commission (FCC) has included cell phone users in the                authority when it defined residential subscribers to include
definition of residential telephone subscribers protected by         cell phone users. See id. (“determin[ing] that the district court
the TCPA, but they assert that the FCC “exceeded its                 correctly refused to entertain arguments regarding the validity
authority” when it did so. (Dkt. 67 at 11; accord Dkt. 68 at         of [an]...FCC [o]rder”); Radvansky v. Kendo Holdings, Inc.,
1–2.)                                                                No. 3:23-cv-214-TCB, 2024 U.S. Dist. LEXIS 145932, at *12
                                                                     (N.D. Ga. Aug. 13, 2024) (“Because the 2003 FCC order
The TCPA authorizes the FCC to “protect residential                  applies to     section 227(c), the [c]ourt must defer to the
telephone subscribers’ privacy rights” through implementing          FCC's interpretation of ‘residential subscribers.’ Many other
regulations and to maintain the National Do-Not-Call                 courts are in accord.” (collecting cases)).
Registry as “a list of telephone numbers of residential
subscribers who object to receiving telephone solicitations.”        In any event, Plaintiff's allegations that she uses her cell
    47 U.S.C. § 227(c)(1)–(3) (emphasis added). Likewise,            phone number for residential, not business, purposes and
FCC regulations provide that “[n]o person or entity shall            does not have another personal number, (Dkt. 32 ¶¶ 42–
initiate any telephone solicitation to...[a] residential telephone   47), support the FCC's interpretation in this case. In addition
subscriber who has registered...her telephone number on              to setting forth these allegations, the amended complaint
the [N]ational [D]o-[N]ot-[C]all [R]egistry” and that “[n]o          pleads that Plaintiff is “the sole...user” of her cell phone
person or entity shall initiate any...any call for telemarketing     number and that the number has been on the National Do-
purposes to a residential telephone subscriber unless such           Not-Call Registry since June 2017. (Id. ¶¶ 40, 48.) When
person or entity has instituted procedures for maintaining a         the amended complaint's well-pleaded factual allegations are
                                                                     viewed in the light most favorable to Plaintiff, see Henley,
list of persons who request not to receive such calls.”        47    945 F.3d at 1326, the residential-subscriber requirement is
C.F.R. § 64.1200(c)–       (d) (emphasis added). The TCPA            satisfied, see    2003 FCC Order, 18 FCC Rcd. at 14039 ¶
does not define “residential subscribers,” see    47 U.S.C.          36. Thus, the court does not dismiss the amended complaint
§ 227, but the FCC has issued a final order interpreting the         for failure to meet the requirement. See Becker v. Pro
                                                                     Custom Solar LLC, No. 2:19-cv-535-FtM-29NPM, 2020
term to include cell phone users, In re Rules & Regulations
                                                                     U.S. Dist. LEXIS 14310, at *20–21 (M.D. Fla. Jan. 29,
Implementing the Tel. Consumer Prot. Act of 1991 (“2003
                                                                     2020) (denying a motion to dismiss for failure to state a
FCC Order”), 18 FCC Rcd. 14014, 14038–39 ¶¶ 35–36
                                                                     claim when the plaintiff alleged “that his cell phone number
(2003). Under the 2003 FCC Order, cell phone users who
                                                                     [wa]s not associated with a business and [wa]s for personal
ask to be added to the National Do-Not-Call Registry are
                                                                     use” because “[t]his allegation, coupled with the TCPA's
presumptively residential subscribers under the TCPA.          Id.   presumption that wireless subscribers who ask to be put on
at 14039 ¶ 36.                                                       the national do-not-call list are residential subscribers, [wa]s
                                                                     sufficient to allege that [the p]laintiff [wa]s a residential
The Hobbs Act, or Administrative Orders Review Act,                  telephone subscriber under the TCPA” (cleaned up)).
provides that the federal appellate courts have “exclusive
jurisdiction to...determine the validity of...all final orders of
                                                                     3. Initiating the Calls
the [FCC] made reviewable by” 47 U.S.C. § 402(a).              28


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 *4 Full Sail contends that the amended complaint                      Ins. Co., 544 F. Supp. 3d 1323, 1332 (S.D. Fla. 2021) (“[The
insufficiently alleges that Full Sail initiated the calls and          defendant] may be held vicariously liable under federal
in fact alleges that The Office Gurus initiated them                   common law agency principles, including actual agency,
                                                                       apparent authority, and ratification, for a TCPA violation by
instead. (Dkt. 67 at 12–13.) See      47 C.F.R. § 64.1200(c)           a third-party telemarketer.”). Accordingly, the claims against
(2) (“No person or entity shall initiate any telephone                 Full Sail are not dismissed for failure to allege that Full Sail
solicitation to...[a] residential telephone subscriber who             initiated the calls.
has registered...her telephone number on the [N]ational
[D]o-[N]ot-[C]all [R]egistry....” (emphasis added));       id. §
64.1200(d) (“No person or entity shall initiate...any call for                                CONCLUSION
telemarketing purposes to a residential telephone subscriber
unless such person or entity has instituted procedures for             Accordingly:
maintaining a list of persons who request not to receive
such calls....” (emphasis added)). The court disagrees. The              1. Defendants’ motion to dismiss (Dkt. 67) is DENIED.
amended complaint states that The Office Gurus initiated the
                                                                         2. Defendants shall answer the amended complaint
calls on Full Sail's behalf. (Dkt. 32 ¶ 77.) The FCC “has ruled
                                                                         (Dkt. 32) in compliance with Federal Rule of Civil
that, under federal common[ ]law principles of agency, there
                                                                         Procedure 12(a)(4)(A). ORDERED in Orlando, Florida,
is vicarious liability for TCPA violations.” Campbell-                   on December 10, 2024.
Ewald Co. v. Gomez, 577 U.S. 153, 168 (2016); accord
                                                                       Copies furnished to:
    Cordoba v. DIRECTV, LLC, 942 F.3d 1259, 1265 (11th
Cir. 2019). The amended complaint sets out three theories
of agency under which Full Sail may be held vicariously                Counsel of Record
liable for the alleged misconduct of The Office Gurus: actual
authority, apparent authority, and ratification. (Dkt. 32 at           All Citations
7, 16– 21.) A TCPA defendant may face vicarious liability
                                                                       Slip Copy, 2024 WL 5057222
pursuant to these theories. See Hossfeld v. Am. Fin. Sec. Life




                                                           Footnotes


1      The court accepts the well-pleaded factual allegations in the amended complaint as true and construes them
       in the light most favorable to Plaintiff. See       Harry v. Marchant, 291 F.3d 767, 769 (11th Cir. 2002) (en banc).

2
       Additionally, Defendants maintain that to the extent the amended complaint brings a claim under 47 U.S.C.
       § 227(b), its allegations about Defendants’ automatic telephone dialing system are insufficient. (Dkt. 67 at
       14–15; Dkt. 68 at 2.) Plaintiff responds that the amended complaint does not assert a claim under section
       227(b). (Dkt. 74 at 18.) Because the causes of action set out in the amended complaint do not rely on
           section 227(b), (see Dkt. 32 at 25–26), the court denies Defendants’ motion in this respect.



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